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                            UNITED STATES BANKRUPTCY COURT
                                                    Eastern District Of Missouri
                                                               St. Louis
 In re:               Randall L. Broyles                                                               Case No:     14-42589-399
                                                                                                       Chapter:   13
 Property Address: 1710 Doane Drive, Saint Louis, MO 63136
 Last four digits of any number you use to
                                              XXXXXX6334
 identify the debtor's account:
 Court Claim No. (if known): 8




 As contemplated by Fed. R. Bankr. Proc. 3002

U.S. Bank Trust National Association, as Trustee of the Igloo Series III Trust, by BSI Financial Services, Inc.

("Creditor") hereby responds to that certain Notice of Final Cure Payment ("Cure Notice") dated 10/15/2019        and filed as Docket No. 87




X Agrees that Debtor(s) has paid in full the amount required to cure the default on Creditor’s claim
□ Disagrees that Debtor(s) has paid in full the amount required to cure the default on Creditor’s claim and states that the total
  amount due to cure pre-petition arrears is:
  Total Amount Due:     $
 Attached as Schedule of Amounts Outstanding on Prepetition Claim is an itemized account of the pre-petition amounts that remain
 unpaid as of the date of this statement.




 X Agrees that Debtor(s) is current with respect to all payments consistent with § 1322(b)(5) of the Bankruptcy Code.
 □ Disagrees that Debtor(s) is current with respect to all payments consistent with § 1322(b)(5), and states that the total amount due
   to cure post-petition arrears is:

  Total Amount Due:         $

Attached as Schedule of Amounts Outstanding Post-Petition Claim is an itemized account of the post-petition amounts that remain
unpaid as of the date of the Cure Notice. The amounts outstanding identified on the Schedule do not reflect amounts that became or may
become due after the date of the Cure Notice, including any fees that may have been incurred in the preparation, filing, or prosecution of
this statement.


The amounts due identified on this statement may not, due to timing, reflect all payments sent to Creditor as of the date of the Cure
Notice. In addition, the amounts due may include payments reflected on the NDC but which have not yet been received and/or processed
by Creditor.




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                                 UNITED STATES BANKRUPTCY COURT
The person completing this statement must sign it. Sign and print your name and your title (if any), and state your address and telephone number if
different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box

   □       I am the Creditor           X    I am the Creditor's authorized agent. (Attach copy of power of attorney, if any).

 I declare under penalty of perjury that the information provided in this Statement in Response to Notice of Final Cure Payment is true
 and correct to the best of my knowledge, information and reasonable belief.

                                                                                  10/25/2019
   X /s/ Wendee Elliott-Clement                                               X
             Signature                                                                    Date (MM/DD/YYYY)

   Name: Wendee Elliott-Clement
  Title:              Attorney
  Company:            SouthLaw, P.C.
  Address:            13160 Foster, Suite 100
  City:               Overland Park                          State:      KS                                    Zip:        66213-2660
  Phone:              (913) 663-7600




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                Schedule of Amounts Outstanding Pre-Petition Claim

                            Fee Description            Fee Date   Fee Amount




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                Schedule of Amounts Outstanding Post-Petition Claim

                            Fee Description            Fee Date    Fee Amount




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I hereby certify that a copy of the foregoing Statement in Response to Notice of Final Cure Payment was served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address
registered with the Court on this Date:
          10/25/2019
Date:

Chapter    13 Trustee:          Diana S. Daugherty
Trustee Address:                PO Box 430908, St. Louis, MO 63143
Trustee Email:


Debtor's Counsel Name:          Wendell J. Sherk
Debtor's Counsel Address:       9666 Olive Blvd, Ste 365, St. Louis, MO 63132
Debtor's Counsel Email:



Debtor 1 Name:                  Randall L. Broyles
Debtor 2 Name

Debtor's Mailing Address:       1710 Doane Drive, Saint Louis, MO 63136
Debtor Email:



                                                                                       /s/ Wendee Elliott-Clement




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